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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

                                             :
Robert Ward, on his own behalf and on behalf :
of all others similarly situated,            :
                                             : Civil Action No.: 2:17-cv-02069-MMB
                        Plaintiff,           :
v.                                           :
                                             :
Flagship Credit Acceptance LLC,              :
                                             :
                        Defendant            :
                                             :
                                             :

                               STIPULATION OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), Plaintiff Robert Ward and Defendant Flagship

Credit Acceptance LLC, by and through their counsel, stipulate and agree to dismiss this action

with prejudice and without costs to either party.

Dated: December 8, 2021

 /s/ Sergei Lemberg                            _/s/ Gerald E. Arth___________
 Sergei Lemberg                                Gerald E. Arth
 Stephen Taylor (phv)                          Steven J. Daroci, II
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